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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
V.

DAVID RENE ARREDONDO,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 22-MJ-228

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, within the District of Columbia, DAVID RENE
ARREDONDO committed and attempted to commit an act to obstruct, impede, and interfere with
a law enforcement officer, that is, T.M., an officer from the United States Capitol Police, lawfully
engaged ’in the lawful performance of his/her official duties incident to and during the commission
of a civil disorder which in any way and degree obstructed, delayed, and adversely affected
commerce and the movement of any article and commodity in commerce and the conduct and
performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO.

On or about January 6, 2021, within the District of Columbia, DAVID RENE
ARREDONDO did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), that is, T.M., an officer from.the United States
Capitol Police, while such officer or employee was engaged in or on account of the performance
of official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, DAVID RENE

ARREDONDO did knowingly enter and remain in a restricted building and grounds, that is, any
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posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so.

(Entering and Remaining in a Restricted Building or Grounds in violation of Title
18, United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, DAVID RENE ARREDONDO
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, DAVID RENE ARREDONDO
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
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COUNT SIX
On or about January 6, 2021, in the District of Columbia, DAVID RENE ARREDONDO
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building ofa hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, DAVID RENE
ARREDONDO willfully and knowingly engaged in an act of physical violence within the

United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title
40, United States Code, Section 5104(e)(2)(F))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, DAVID RENE

ARREDONDO willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Peter boon oop

Attorney of the United States in
and for the District of Columbia.
